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July 26, 2022

VIA ECF

Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: — Miranda, Lauren v. South Country School District

Our File No. 0171202N0719
Civil Action No. 20-cv-104

Dear Judge Cogan:

I have a copy of Mr. Stern’s letter to the Court dated today. He asks for an extension for a
motion. I consent. But then Mr. Stern appears to use the simple extension unopposed request to
argue his entire motion, which puts me in an untoward position, not least because he has our
expert’s transcript, and I do not. Anyway, it does appear that Mr. Stern’s purported facts and
arguments go to the weight to be given to our expert’s testimony, not its admissibility. And it
seems that Mr. Stern has mischaracterized Mr. Quintero’s testimony or taken it out of context. I
regret having to make these arguments while not yet armed with evidence. I would that the
lengthy legal argument of the substance of Defendants motion had not been made, needlessly, for

a mere consented-to extension.

JRora
cc: Lauren Miranda (via email)
Steven Stern, Esq. (via ECF)

 
